                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:13-00209
                                               )          JUDGE CAMPBELL
JUAN COLLAZO                                   )

                                           ORDER

         Pending before the Court is the Defendant’s Motion To Continue Hearing Date Or Time

On United States’ Motion To Quash Subpoena (Docket No. 73). The Motion is GRANTED.

The hearing is RESCHEDULED for April 10, 2014, at 3:00 p.m.

         It is so ORDERED.



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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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